                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE



 MICHELLE L. ALMANZA,                         )
                                              )
                Plaintiff,                    )
        v.                                    )              CIV. NO.: 3:15-cv-389
                                              )              (VARLAN/GUYTON)
 JEFFERSON B. SESSIONS III,                   )
 Attorney General,                            )
 United States Department of Justice,         )
                                              )
                Defendant.                    )


                   PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSE
                        TO ORDER ON SCOPE OF DISCOVERY

        On September 5, 2017, this Court filed an Order addressing the parties’ discovery

 disputes and instructing Defendant United States Department of Justice [“DOJ”] to notify the

 Court as to whether the 2016 “EARS Review” of the U.S. Attorney’s Office in the Eastern

 District Tennessee [“USA-EDTN”] addresses management performances during the period

 between January 2012 and December 2014. [Doc. 18] On September 14, 2017, DOJ filed its

 Response to Order on Scope of Discovery, attaching the Declaration of William R. Chambers, Jr.

 [Doc. 20 & 20-1] Plaintiff Michelle Almanza, through counsel, replies herein to DOJ’s response,

 and asks this Court to Order production of the 2016 EARS evaluation for the USA-EDTN office.

 Attached in support of this reply is the Declaration of Michelle Almanza [Exhibit 1], together

 with documents from DOJ’s website related to the scope and purpose of the EARS review

 program. [Exhibit 1-A]

        In his declaration, Mr. Chambers explains that every four years the EARS program

 evaluates management performance in all United States Attorney’s Offices. However, he



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 describes the 2016 EARS review of USA-EDTN as reflecting only a snapshot in time “precisely

 during the calendar date and time that the evaluation is conducted.” [Doc.20-1, ¶8] Although the

 2016 EARS report may reflect a snapshot in time during the one-week review, it is not limited to

 a snapshot in time, but covers the period from the last EARS report in 2011 to the date of the

 2016 report. [See Exhibits 1 & 1-A: Almanza Declaration with attached DOJ documents] For

 example, the EARS guidelines for reviewers and sample interview questions are crafted to solicit

 information from employees about the work environment broadly without a time limitation. [See

 Exhibit 1-A, pp. 7, 11-12, 23, 26-27] Indeed, it would be silly for interviewers to ask, “are you

 aware of any morale problems this week?” Or, “have you had any problems with management or

 administrative support this week?”

        The EARS mission statement, guidelines, interview questions, and document

 preservation parameters reflect that interviewers conduct thorough evaluations of management

 performance encompassing the four-year period between each EARS review. For example,

 guidelines instruct EARS staff to prepare for interviews by reviewing materials, such as

 information about EEO management within the office, as well as the “Previous Evaluation

 Report, U.S. Attorney Response, and Follow-up Report.” [Exhibit 1-A, pp. 5-6, 13] Likewise,

 interview questions focus on change, for better or worse, since the last EARS evaluation. [Id., at

 pp. 7-8, 11, 15-16, 19, 28] There is nothing in the attached EARS material to suggest that an

 evaluation would focus narrowly on a period “precisely during the calendar date and time that

 the evaluation is conducted.” [Doc.20-1, ¶8] Such an interpretation also contradicts Ms.

 Almanza’s experience as a participant in the EARS review process in two separate U. S.

 Attorney’s Offices in 2011 and again in 2017. [Exhibit 1: Almanza declaration, ¶ ¶3, 6]




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        Consistent with Ms. Almanza’s first-hand experience and the attached DOJ documents,

 the 2016 EARS Review of the USA-EDTN office should contain information about management

 performance during the period between January 2012 and December 2014. Based on the

 supporting evidence and the broad scope of Federal Rule of Civil Procedure 26 governing

 discoverability of information in discrimination and retaliation cases, Plaintiff Almanza asks this

 Court to Order the defendant to produce the 2016 EARS report, with supporting interview notes

 and surveys, subject to the protective order governing this case.



                                                        Respectfully submitted:


                                                        s/Jennifer B. Morton
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 19th, 2017, a copy of the foregoing was filed

 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

 system to all parties indicated on the electronic filing receipt. Parties may access the filing

 through the Court’s electronic filing system.


                                        /s/ Jennifer Morton
                                        Jennifer Morton




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